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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                    :
Peter Phillips and Tabatha Phillips,                :
                                                      Civil Action No.: 4:18-cv-2134
                                                    :
                        Plaintiffs,                 :
        v.                                          :
                                                    :
                                                      COMPLAINT
Convergent Outsourcing, Inc.,                       :
                                                      JURY
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

        For this Complaint, Plaintiffs, Peter Phillips and Tabatha Phillips, by undersigned

counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”).

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        4.      Plaintiffs, Peter Phillips and Tabatha Phillips (“Peter” and “Tabatha” and

collectively referred to as “Plaintiffs”), are adult individuals residing in Montgomery, Texas, and

is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant, Convergent Outsourcing, Inc. (“Convergent”), is a Washington

business entity with an address of 800 SW 39th Street, Renton, Washington 98057, operating as

a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).
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                       ALLEGATIONS APPLICABLE TO ALL COUNTS

A.     The Debt

       6.      Plaintiffs allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       7.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §

1692a(5).

       8.      The Debt was purchased, assigned or transferred to Convergent for collection, or

Convergent was employed by the Creditor to collect the Debt.

       9.      Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B.     Convergent Engages in Harassment and Abusive Tactics

       10.     On or about March 26, 2018, Convergent began contacting Plaintiffs in an attempt

to collect the Debt.

       11.     The caller identification showed the caller as “Hess Corp”. However, the

telephone number actually belonged to Convergent.

       12.     Convergent’s use of a different name in an attempt to collect the Debt was false

and misleading.

C.     Plaintiffs Suffered Actual Damages

       13.     Plaintiffs have suffered and continue to suffer actual damages as a result of

Defendant’s unlawful conduct.

       14.     As a direct consequence of Defendant’s acts, practices and conduct, Plaintiffs

suffered and continue to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.
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                                   COUNT I
                   VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       15.     Plaintiffs incorporate by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       16.     Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiffs in

connection with collection of the Debt.

       17.     Defendant’s conduct violated 15 U.S.C. § 1692d(6) in that Defendant placed calls

to Plaintiffs without disclosing the identity of the debt collection agency.

       18.     Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,

deceptive and/or misleading representations or means in connection with collection of the Debt.

       19.     Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant employed

false and deceptive means to collect the Debt.

       20.     Defendant’s conduct violated 15 U.S.C. § 1692e(14) in that Defendant used a

name other than the true name of the debt collection agency.

       21.     Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used unfair and

unconscionable means to collect the Debt.

       22.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the FDCPA.

       23.     Plaintiffs are entitled to damages as a result of Defendant’s violations.

                                   COUNT II
                VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                        TEX. FIN. CODE ANN. § 392, et al.

       24.     Plaintiffs incorporate by reference all of the above paragraphs of this Complaint

as though fully stated herein.


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       25.     Plaintiffs are “consumers” as defined by Tex. Fin. Code Ann. § 392.001(1).

       26.     Defendant is a “debt collector” and a “third party debt collector” as defined by

Tex. Fin. Code Ann. § 392.001(6) and (7).

       27.     Defendant called Plaintiffs and failed to identify the name of the debt collection

agency or the individual debt collector, with the intent to annoy and harass, in violation of Tex.

Fin. Code Ann. § 392.302(2).

       28.     Defendant used a name other than that of its business, in violation of Tex. Fin.

Code Ann. § 392.304(a)(1)(A).

       29.     Plaintiffs are entitled to injunctive relief and actual damages pursuant to Tex. Fin.

Code Ann. § 392.403(a)(1) and (2) and to remedies under Tex. Bus. & Comm. Code § 17.62

pursuant to Tex. Fin. Code Ann. § 392.404(a).

                                     PRAYER FOR RELIEF

               WHEREFORE, Plaintiffs pray that judgment be entered against Defendant:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                        § 1692k(a)(3);

                   4. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);

                   5. Actual damages pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

                   6.   Remedies under Tex. Bus. & Comm. Code § 17.62 pursuant to Tex. Fin.

                        Code Ann. § 392.404(a);

                   7. Punitive damages; and

                   8. Such other and further relief as may be just and proper.



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                       TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: June 25, 2018


                                    Respectfully submitted,

                                    By: /s/ Jenny DeFrancisco

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